                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION


COQUINA CROSSING
HOMEOWNERS ASSOCIATION,
INC.,

            Plaintiff,
v.                                             Case No. 3:21-cv-84-MMH-LLL

MHC OPERATING LIMITED
PARTNERSHIP, et al.,

            Defendants.


                                   ORDER

      THIS CAUSE is before the Court sua sponte. Federal courts are courts

of limited jurisdiction and therefore have an obligation to inquire into their

subject matter jurisdiction. See Kirkland v. Midland Mortgage Co., 243 F.3d

1277, 1279-80 (11th Cir. 2001). This obligation exists regardless of whether the

parties challenge the existence of subject matter jurisdiction. See Univ. of S.

Ala. v. Am. Tobacco Co., 168 F.3d 405, 410 (11th Cir. 1999) (“[I]t is well settled

that a federal court is obligated to inquire into subject matter jurisdiction sua

sponte whenever it may be lacking.”). “In a given case, a federal district court

must have at least one of three types of subject matter jurisdiction: (1)

jurisdiction under a specific statutory grant; (2) federal question jurisdiction

pursuant to 28 U.S.C. § 1331; or (3) diversity jurisdiction pursuant to 28 U.S.C.
§ 1332(a).” Baltin v. Alaron Trading, Corp., 128 F.3d 1466, 1469 (11th Cir.

1997). Notably, the party seeking to invoke the Court’s jurisdiction bears the

burden of establishing that the jurisdictional prerequisites are met. See

McCormick v. Aderholt, 293 F.3d 1254, 1257 (11th Cir. 2002); see also Taylor v.

Appleton, 30 F.3d 1365, 1367 (11th Cir. 1994) (noting that the “pleader must

affirmatively allege facts demonstrating the existence of jurisdiction”). For the

reasons set forth below, the Court determines that this action is due to be

remanded to the state court in which it was originally filed for lack of subject

matter jurisdiction.

      I.    BACKGROUND

      On September 29, 2020, the Coquina Crossing Homeowners Association,

Inc., (the “Association”) initiated this action in the Circuit Court, Seventh

Judicial Circuit, in and for St. Johns County, Florida, alleging claims under the

Florida Antitrust Act, Florida Statute section 542.18, and the Americans with

Disabilities Act, 42 U.S.C. §§ 12101 et seq. (“ADA”). See Complaint (Doc. 3).

Defendants removed the action to this Court on January 22, 2021, asserting

that the Court had subject matter jurisdiction over the ADA claim, as it raised

a question of federal law, and supplemental jurisdiction over the state law

claim. See Notice of Removal (Doc. 1; Notice of Removal) at 3. In addition,

Defendants asserted that the Court had diversity jurisdiction over the action

based upon the provisions of the Class Action Fairness Act of 2005 (“CAFA”).




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See id. However, on February 25, 2021, the Association filed an amended

complaint omitting its federal ADA claim. See Amended Complaint (Doc. 17;

Amended Complaint). With the elimination of the Association’s ADA claim, the

Court was no longer confident of the existence of original subject matter

jurisdiction. Specifically, the Court questioned whether CAFA provided a basis

for the Court to exercise diversity jurisdiction over the Association’s state law

antitrust claim. The Court further questioned whether, if CAFA did not support

such an exercise of jurisdiction, the Court should continue to exercise

supplemental jurisdiction over that purely state law claim. See Behlen v.

Merrill Lynch, 311 F.3d 1087, 1095 (11th Cir. 2002) (holding that a district court

has discretion whether to retain jurisdiction over the state law claims even if a

complaint is amended subsequent to removal and removes the original basis for

federal subject matter jurisdiction). As such, on April 8, 2021, the Court ordered

the parties to show cause why this action should not be remanded to the state

court. See Order to Show Cause (Doc. 29; Order to Show Cause). On April 26,

2021, the parties filed responses to the Order to Show Cause. See Defendants’

Response to Show Cause Order (Doc. 32; Defendants’ Response); Plaintiff’s

Response to Order to Show Cause (Doc. 34; Association’s Response). Thus, the

Court’s sua sponte jurisdictional inquiry is ripe for resolution.




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       II.    GOVERNING LAW

       Federal district courts have diversity jurisdiction over “all civil actions

where the matter in controversy exceeds the sum or value of $75,000 . . . and is

between . . . citizens of different states.” 28 U.S.C. § 1332(a)(1). In 2005,

Congress enacted CAFA which amended the federal diversity jurisdiction

statute, 28 U.S.C. § 1332, by providing special rules for class action lawsuits.

Smith v. Marcus & Millichap, Inc., 991 F.3d 1145, 1149 (11th Cir. 2021) (citing

Class Action Fairness Act of 2005, Pub. L. No. 109–2 § 2(b), 119 Stat. 4). In

doing so, Congress “loosened the requirements for diversity jurisdiction . . . for

class actions.” Mississippi ex rel. Hood v. AU Optronics Corp., 571 U.S. 161,

164-165 (2014) (noting that class actions filed in state court which satisfy

CAFA’s requirements may be removed to federal court under 28 U.S.C. § 1453).

Pursuant to CAFA, federal courts are authorized to exercise original

jurisdiction over a case if it is a “class action” filed under “rule 23 of the Federal

Rules of Civil Procedure” or under a “similar State statute or rule of judicial

procedure,” the class has more than 100 members, the parties are minimally

diverse, and the aggregate amount in controversy exceeds the sum or value of

$5,000,000. 28 U.S.C. § 1332(d).1



1 An assertion of jurisdiction based on “CAFA does not change the traditional rule that the
party seeking to remove the case to federal court bears the burden of establishing federal
jurisdiction.” Evans v. Walter Indus., Inc., 449 F.3d 1159, 1164 (11th Cir. 2006); Lowery v.
Alabama Power Co., 483 F.3d 1184, 1208 (11th Cir. 2007).




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       III.   POSITIONS OF THE PARTIES

       In the Amended Complaint, the Association asserts a single state law

antitrust claim in its representative capacity on behalf of the homeowners in

the Coquina Crossing Mobile Home Park (“Park”)2 against Defendants MHC

Operating Limited Partnership, Equity LifeStyle Properties, Inc., MHC

Coquina Crossing, L.L.C.; several of the companies’ officers and agents, Eric

Zimmerman, Gena May, Jared Lambert, William Smoljanovich, and Marta

Lindstrom; and the companies’ lawyer, J. Allen Bobo and his firm Lutz, Bobo &

Telfair, P.A.3 Amended Complaint at 10-12. At the time Defendants removed

the case to this Court, in addition to the now deleted federal question

jurisdiction, Defendants asserted that the Court has subject matter jurisdiction

over the action based on CAFA because the Association’s claim was brought as

a “class action.” See Notice of Removal ¶ 15 (citing 28 U.S.C. § 1332(d)(1)(B)).

In doing so, Defendants asserted that CAFA applies because the Association’s

claim was filed under a state statute that is “similar” to the federal class action

rule “authorizing an action to be brought by 1 or more representative persons

as a class action.” Id. According to Defendants, CAFA provides jurisdiction over


2 The Park is an “age 55 or older” mobile home park with 742 rental residential lots. Amended
Complaint at 6. The Park’s mobile homeowners are largely elderly persons over 65 years of
age. Id.
3 The Court previously dismissed the Association’s claims against Defendant Florida

Manufactured Housing Association, Inc. based on a Notice of Voluntary Dismissal. (Docs. 35,
36).




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the Association’s state law antitrust claim because “the putative class consists

of more than 900 current and former mobile homeowners” which exceeds

CAFA’s required minimum of “at least 100 members.” Id. ¶ 17 (citing 28 U.S.C.

§§ 1332(d)(2), (d)(5)(B)). Defendants further asserted that CAFA’s requisite

amount in controversy is met because the Association “seeks compensatory

damages equal to the alleged amount of increased lot rentals, exemplary and

trebled damages under the Florida Antitrust Act, injunctive relief ordering

Defendants to make substantial modifications to the Park, attorneys’ fees, and

costs.” Id. ¶ 18.

       After the Court issued its Order to Show Cause, Defendants filed

Defendants’ Response in which they summarily reassert these same arguments.

Defendants’ Response at 2. Alternatively, Defendants argue that if the

Association’s civil action does not fall within CAFA jurisdiction, the Court

nonetheless should exercise its discretion to retain jurisdiction over the state

law claim pursuant to 28 U.S.C. § 1367. Id. In its response to the Court’s Order

to Show Cause, the Association argues that Defendants cannot support their

argument that the lawsuit was filed by a sufficient number of “persons” to fall

within CAFA’s jurisdiction. Association’s Response at 3 (citing Mississippi ex

rel. Hood v. AU Optronics Corp., 571 U.S. 161 (2014)).4 The Association also


4 Although the Supreme Court in AU Optronics Corp. generally described CAFA, it dealt more
specifically with provisions concerning a “mass action” under CAFA, which Defendants do not
allege as the basis for federal jurisdiction in this case. See 28 U.S.C. § 1332(d)(11)(B)(i).




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argues that the Court should decline to exercise § 1367 supplemental

jurisdiction over the state law antitrust claim for reasons of comity,

convenience, and fairness, and the action should be remanded to state court. Id.

at 4-5 (citing Carnegie-Mellon University v. Cohill, 484 U.S. 343, 357 (1988)

(holding that the district court’s remand of state claim to state court was a

permissible exercise of discretion following plaintiff’s dismissal of federal

claims)).

      In responding to the Order to Show Cause regarding CAFA jurisdiction,

neither side sufficiently briefed the issue of whether the Association’s “civil

action” is a “class action” as defined by CAFA or a “representative” action as

alleged by the Association in the Amended Complaint. Despite the fact that

Defendants bear the burden to establish that the Court has CAFA jurisdiction,

they devote less than a page of their response to the definitional “class action”

issue which they contend authorizes the Court’s jurisdiction. Defendants’

Response at 3-4. And the Association largely ignores the issue arguing instead

only that because its suit is brought as a representative action, the Association

itself is the sole named “person,” and as such, it does not meet the numerosity

requirement of CAFA.

      In the Amended Complaint, the Association specifically states that its

Florida Antitrust Act claim is brought—not as a “class action”—but as a

“representative action” on “behalf of itself” and the mobile homeowners in the




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Park. Amended Complaint at 5. The Association asserts that it is an

“incorporated mobile homeowner association and the legal representative” of

“all of the mobile homeowners” in the Coquina Crossing Mobile Home Park for

“all matters” of “common interest . . . relating to the Florida Mobile Home Act”

pursuant to “Florida Statute § 723.075(1) and 723.076(1).” 5 Amended

Complaint at 5. According to the Association:

              [T]he relationship between the Coquina Crossing
              [Homeowners’       Association],   the    homeowners
              represented by the [Association] and the Park owner or
              operators is regulated under Chapter 723 [of] Fla. Stat.,
              and encompasses a broadly defined “lot rental
              agreement.”

Id. at 5-6. Additionally, the Association relies on Rule 1.222 of the Florida Rules

of Civil Procedure (Florida Rule(s)). Id. Defendants do not dispute that the

Association is the sole Plaintiff or that it is a not-for-profit corporation which

serves as the official statutory homeowners’ association for Coquina Crossing

Mobile Home Park. See Notice of Removal ¶¶ 2, 3. Nevertheless, Defendants

contend that the Association’s lawsuit falls within the definition of a “class

action” under CAFA based upon the combined effect of Florida Statute section

723.075(1) and Florida Rule 1.222. Notice of Removal ¶¶ 14-15; Defendants’

Response at 3. They explain that pursuant to section 723.075(1), the Association



5 In pertinent part, Florida Statute section 723.075(1) provides that upon incorporation, a
homeowners’ association shall become a representative of all the homeowners in all matters
relating to this Chapter, regardless of whether the homeowner is a member of the association.




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is the representative of all mobile homeowners on matters governed by the

Florida Mobile Home Act. Id. at 4. They further assert that the Florida Supreme

Court specifically adopted Florida Rule 1.222 as a special rule of “judicial class

action procedure” to authorize a homeowners’ association to bring a class action

on behalf of all mobile homeowners “concerning matters of common interest.”

Id. at 4 (citing Lanca Homeowners, Inc. v. Lantana Cascade of Palm Beach,

Ltd., 541 So.2d 1121, 1124 (Fla. 1988); Biza, Corporation v. Galway Bay Mobile

Homeowners Assoc., Inc., 304 So.3d 1227, 1232-33 (Fla. 3d DCA 2019)).

According to Defendants, this action is a “class action” because the Association

asserts standing as “a representative of the homeowners” via the “combined

operation” of section 723.075(1) and Florida Rule 1.222, which, they argue,

operate as the equivalent of Rule 23 for purposes of CAFA. Defendants’

Response at 3-4. With this background, the Court considers whether CAFA

authorizes an exercise of subject matter jurisdiction over the state law claim in

the Association’s Amended Complaint.

      IV.    DISCUSSION

             A. CAFA Subject Matter Jurisdiction

      Pursuant to CAFA, a civil action not filed under Rule 23, Federal Rules

of Civil Procedure (Rule(s)), will be considered a “class action” if it is filed under

a state “statute or rule of judicial procedure” similar to Rule 23. 28 U.S.C. §

1332(d)(1)(B). Thus, the question for the Court is whether the Florida law and




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Florida Rule on which the Association bases its representation of homeowners

are “similar” to the federal class action rule, Rule 23.

      Turning first to the effect of Florida Statute section 723.075(1), the Court

observes that other courts faced with civil actions brought on behalf of organized

groups or associations in a representative capacity have concluded that the

applicable state statutes were not “similar” to the federal class action rule and,

therefore, no CAFA jurisdiction existed. The Third Circuit Court of Appeals

reached such a conclusion in Erie Insurance Exchange v. Erie Indemnity

Company, 722 F.3d 154 (3d Cir. 2013). There, the court considered whether an

action filed by members of an unincorporated association “on behalf of all

members” belonged in federal court after having been removed on the basis of

CAFA jurisdiction. Id. at 156. (“[T]he basic question we must resolve is whether

a federal court has subject matter jurisdiction to hear this case in the first

instance [and] . . . whether this case even constitutes a ‘class action.’”). In doing

so, the court determined the relevant inquiry to be “whether th[e] action was

brought under a ‘state statute or rule’ that is ‘similar’ to Rule 23” or one that

“otherwise authorizes an action to be brought by a representative as a class

action.” Id. at 158 (citing Kaufman v. Allstate New Jersey Ins. Co., 561 F.3d

144, 151 (9th Cir. 2009)). Comparing the state rule with Rule 23, the court found

that the state rule allowing suits by an association “contain[ed] none of the




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defining characteristics” of Rule 23. Id. at 158-159.6 The court explained

              [The state rule] does not, for example, provide for class
              certification mechanisms, Fed. R. Civ. P. 23(c)(1), list
              requirements such as numerosity or commonality that
              a suit must meet to constitute a class action, Fed. R.
              Civ. P. 23(a)-(b), or specify the form and substance of
              notice that must be given to absent class members, Fed.
              R. Civ. P. 23(c)(2). Nor does [state] Rule 2152 permit
              individual class members to opt-out or provide for the
              appointment of a lead plaintiff or class counsel. Far
              from “authorizing an action to be brought by [a]
              representative person[ ] as a class,” 28 U.S.C. § 1332(d)
              (1)(B), Rule 2152 merely authorizes suits by
              representatives on behalf of an unincorporated
              association. See Pa. R. Civ. P. 2152. Indeed, to the
              extent we have interpreted Pennsylvania law on the
              matter, we have held that suits by members of an
              unincorporated        association   (such    as     those
              contemplated by Rule 2152) may not be brought as a
              class action. . . . [A]s per Congress’s command, we
              reach our holding by looking to the rule under which a
              case was filed. . . .

              Far from helping [defendant], its “substance of the
              claims” arguments convince us that this case is not
              properly viewed as a class action. Even if this case were
              viewed as a suit by all of [the association’s] members
              against [defendant] on [the association’s] behalf, it
              would still bear little resemblance to a Rule 23 action.
              The group of individuals that comprise [the association]
              exists to pool resources and buy insurance and will
              continue to exist beyond the life of this suit. By
              contrast, a “class” in a class action is a group of
              individuals whose legal association normally begins
              and ends with the lawsuit, which is not the case here.

6 The court identified the relevant portions of Rule 23 to be the requirements that ‘“[o]ne or
more members of a class may sue or be sued as representative parties on behalf of all members
only if’ numerosity, commonality, typicality, and adequacy of representation are met, and if
the class meets other requirements and is certified by the court as a class after following
certain notice procedures.’” Id. at 158 (quoting Fed.R.Civ.P. 23(a)-(c)).




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            Nor do we see any indication that members of [the
            association] can opt in or out of the suit (which will bind
            [it]), or that they are entitled to notice, an opportunity
            to object, or to be appointed lead plaintiff.

Id. at 159, 161. On this reasoning, the court concluded that “a suit by [an

association] is properly understood as a suit by one entity, not by ‘a

conglomerate of individuals.’ . . . Plain and simple, this is a suit by an entity,

not a class of individuals.’” Id. at 159-60. As such, the plain text of CAFA did

not support an exercise of federal jurisdiction over the state law claim. Id. (the

court deferred the question of whether the association’s suit had other

procedural deficiencies under the state rule to the state courts who were “best

suited to correct the problem”). Other courts similarly have found no CAFA

jurisdiction where a plaintiff brings a lawsuit in a representative capacity under

the authority of a state statute or rule that is not analogous to Rule 23. See e.g.,

Baumann v. Chase Inv. Servs. Corp., 747 F.3d 1117, 1122-23 (9th Cir. 2014)

(finding that an action brought pursuant to California’s Private Attorneys

General Act was not a class action because it was not sufficiently similar to Rule

23); Purdue Pharma L.P. v. Kentucky, 704 F.3d 208, 216 (2d Cir. 2013)

(attorney general’s lawsuit brought in a parens patriae capacity was not a class

action under CAFA because it was not similar to Rule 23); West Virginia ex rel.

McGraw v. CVS Pharm., Inc., 646 F.3d 169, 176 (4th Cir. 2011) (attorney

general’s claims did not satisfy the requirements for CAFA jurisdiction because




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the statutes on which he relied “contain[ed] virtually none of the essential

requirements for a Rule 23 class”).

      An example of a case properly invoking CAFA jurisdiction highlights the

difference. In Williams v. Emps. Mut. Cas. Co., 845 F.3d 891, 899–900 (8th Cir.

2017), the court found CAFA’s jurisdiction existed in a case where a plaintiff

sought to represent a class of mobile homeowners in a garnishment proceeding

to collect on a judgment in favor of the class. Id. at 895. In doing so, the court

rejected the plaintiff’s attempt to obtain a remand to state court relying on Erie,

Bauman, Purdue Pharma, and McGraw. Id. at 900. Those cases, the court

explained, were brought by individuals authorized by a specific state rule or

statute to act in a representative capacity without having to satisfy

requirements similar to those in Rule 23. Id. at 899-900. In contrast, the

Williams plaintiff filed suit under a garnishment statute that “included no

provision authorizing a plaintiff to bring suit on behalf of others.” Id. at 900. As

such, the plaintiff could pursue the claims on behalf of the class only if she could

satisfy the state law “analogue of Rule 23.” Id. Because the Williams plaintiff

brought the “action on behalf of a class previously certified under a state-law

analogue to Rule 23, the action was necessarily ‘filed under’ Rule 23 or a state-

law analogue, even though the complaint omitted explicit reference to such a

rule.” Id. at 902. Therefore, the defendant properly invoked federal court

jurisdiction under CAFA and remand was correctly denied. Id.




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      Here, section 723.075(1) of the Florida Mobile Home Act allows a

homeowners’ association to bring an action on behalf of the homeowners, but as

the distinction between Erie and Williams demonstrates, it does not satisfy

CAFA’s “class action” requirement. The statute is not a “class action” rule nor

is it “similar” to Federal Rule 23. Indeed, like the statutes in Erie, Bauman,

Purdue Pharma, and McGraw, section 723.075(1) contains none of the hallmark

requirements of a class action brought pursuant to Rule 23.

      Defendants’ contention that Florida Rule 1.222, when “combined in

operation” with section 723.075(1), is “similar” to Rule 23 fairs no better

because Florida Rule 1.222 also is not a class action rule and is not similar to

Rule 23.

      Florida Rule 1.222 authorizes a mobile homeowners’ association, acting

as a representative, to bring an action on behalf of all mobile homeowners in a

park concerning “matters of common interest.” Lanca Homeowners, 541 So.2d

at 1124. The Florida Supreme Court adopted the rule pursuant to its emergency

rulemaking authority in its Lanca Homeowners decision. Id. at 1123-24. 7

There, an association sought to represent the individual mobile homeowners in

a class action against the landlord property owner pursuant to section

723.079(1) of the Florida Mobile Homeowners Act. Id. at 1122. The trial court



7“The rule was amended once in 1993 to make minor, editorial changes.” Biza, Corp., 304
So.3d at 1232, n.4.




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found, based upon the authority granted by Florida Statute section 723.079(1),

that the homeowners’ association was a proper class representative despite not

being a member of the class. Id. at 1122. The court of appeals disagreed. Id. at

1122-23. That court found the relevant portions of section 723.079(1) on which

the trial court relied to be an “unconstitutional incursion” into the Florida

Supreme Court’s exclusive rulemaking authority, and further concluded that

because the association was not a member of the homeowner class, it was not a

proper class representative under Florida Rule 1.220, the civil procedure rule

governing class actions in Florida. Id. The Florida Supreme Court affirmed the

decision of the court of appeals, and declared unconstitutional all but the first

two sentences of section 723.079(1). Nevertheless, because “the unique features

of mobile home residency call for an effective procedural format for resolving

disputes between park owners and residents concerning matters of shared

interest,” the court adopted Florida Rule 1.222 as a special rule to govern

actions brought by mobile homeowners’ associations for the benefit of all of the

association’s members. Id. at 1123-24. In doing so, the court exempted such

actions from satisfying the requirements of Florida’s standard class action rule,

Florida Rule 1.220. Id. at 1123. Indeed, Florida Rule 1.222 specifically provides:

            A mobile homeowners’ association may institute,
            maintain, settle, or appeal actions or hearings in its
            name on behalf of all homeowners concerning matters
            of common interest including, but not limited to: the
            common property; structural components of a building




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            or other improvements; [etc.] . . . If the association has
            the authority to maintain a class action under this rule,
            the association may be joined in an action as
            representative of that class with reference to litigation
            and disputes involving the matters for which the
            association could bring a class action under this rule.
            Nothing herein limits any statutory or common-law
            right of any individual homeowner or class of
            homeowners to bring any action which may otherwise
            be available. An action under this rule shall not be
            subject to the requirements of rule 1.220.

Fla. R. Civ. P. 1.222.

      In arguing that the combined operation of Florida Rule 1.222 and Florida

Statute section 723.075(1) renders the Association’s claim one that falls within

CAFA’s definition of a “class action,” Defendants fail to appreciate that Florida

has a comprehensive and detailed class action rule, Florida Rule 1.220, which

is not only “similar” to, but is based on, Rule 23. See Fla. R. Civ. P. 1.220,

advisory committee’s notes. They also ignore the fact that the plain language of

Florida Rule 1.222 governing representative actions by mobile homeowners’

associations exempts such actions from satisfying the requirements of Florida

Rule 1.220, the very same ones that are the hallmark requirements of a class

action under Rule 23. Fla. R. Civ. P. 1.222 (“[a]n action under this rule shall not

be subject to the requirements” for class actions set forth in Rule 1.220). Thus,

the plain language of Florida Rule 1.222 excepting it from the “class action”

requirements makes it anything but “similar” to Rule 23.

      Florida appellate courts recognize that mobile homeowners’ associations




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bringing suit on behalf of homeowners are not subject to the detailed procedural

class action requirements of Rule 1.220. See e.g., Biza, Corp., 304 So. 3d at 1232-

33. In Biza, Corp., Florida’s Third District Court of Appeal not only recognized

that actions brought pursuant to Florida Rule 1.222 are not subject to the

traditional class action requirements, it discussed the important reasons the

Florida Supreme Court had for exempting such actions. Biza, Corp., 304 So. 3d

at 1232-33; see also Amber Glades, Inc. v. Leisure Assocs. Ltd. Partnership, 893

So. 2d 620, 623-25 (Fla. 2d DCA 2005) (noting that mobile homeowners’

association’s suit was “not a standard class action,” thus, the trial court was not

required to make a factual decision of whether association would be “an

adequate class representative,” as long as the trial court found the issue was of

“common interest” to homeowners as required by Florida Rule 1.222). For these

reasons, the court rejected a challenge to a mobile homeowner class that was

certified without a hearing to establish an evidentiary basis for certification as

contemplated by Florida Rule 1.220. Id.

      Notably, Florida Rule 1.222 does not contain any of the hallmark

requirements of a traditional class action. Unlike Rule 23 and Florida Rule

1.220, it does not require any showing of numerosity, typicality, and

commonality. Nor does it require that notice be given to absent class members,

or that certain types of actions include opt-out procedures. Fla. R. Civ. P.

1.220(a)-(d). Instead, Florida Rule 1.222 “merely authorizes suits by




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representatives on behalf of” an association. See Erie Insurance Exch., 722 F.3d

at 159 (holding state procedural rule for association to bring suit was not similar

to “class action” in Rule 23 because of lack of “class certification mechanisms”).

       Addressing this precise question before the Court in this action, Judge

Mendoza recently remanded a nearly identical state law claim brought by a

mobile homeowners’ association against park owners after dismissal of the

federal ADA claim. Holiday Haven Homeowners, Inc. v. Taranto, No. 6:21-cv-

174-CEM-EJK (M.D. Fla. Aug. 11, 2021) (Doc. 78) (remanding association’s

state law claims to state court after ADA claim was dismissed), appeal

dismissed sub nom. Ruhlen v. Holiday Haven Homeowners, Inc., No. 21-90022,

2022 WL 701622 (11th Cir. Mar. 9, 2022) (published).8 In doing so, the court

determined that the association’s representative claim under Rule 1.222 was

not a “class action” under CAFA. Id. at 4. Rejecting the defendants’ contention

that the court continued to have jurisdiction pursuant to CAFA because the

association’s claims were brought “on behalf of the 200 current and former”

mobile homeowners in the park, Judge Mendoza explained:




8 The Eleventh Circuit held that it did not have jurisdiction to hear the appeal under 28 U.S.C.
§ 1453(c)(1) because the remand was sua sponte, not on “the motion of any party.” Ruhlen,
2022 WL 701622, at *3.
  In citing to Holiday Haven, the Court notes that decisions of other district courts are not
binding; nevertheless, they may be cited as persuasive authority. See Stone v. First Union
Corp., 371 F.3d 1305, 1310 (11th Cir. 2004) (noting that, “[a]lthough a district court would not
be bound to follow any other district court’s determination, the decision would have significant
persuasive effects.”).




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            Here, federal question jurisdiction no longer exists
            because the [complaint] asserts only state law claims
            [under]. . . the Florida Mobile Home Act . . . . Plaintiff
            explains that it is not asserting a class claim, but
            rather, a claim by the homeowners’ association on
            matters of common interest to those homeowners in the
            park. Specifically, Plaintiff is attempting to bring
            Count 6 in a representative capacity under Florida
            Rule of Civil Procedure 1.222, which permits “[a]
            mobile homeowners’ association [to] institute,
            maintain, settle, or appeal actions or hearings in its
            name on behalf of all homeowners concerning matters
            of common interest.” This type of claim is not a class
            action, as that term is understood for CAFA
            jurisdiction. Thus, Plaintiff is not, and has apparently
            never been, asserting any class claims, and CAFA
            jurisdiction is not present.

Holiday Haven, Doc. 78 at 3-4 (citations and footnote omitted). For all of the

reasons discussed above, this Court agrees with Judge Mendoza’s conclusion.

      In this case, Florida Rule 1.222 and section 723.075(1), whether

individually or “in combination,” are not “similar” to Rule 23. Instead, Florida

Rule 1.222 specifically exempts homeowners’ associations from the class action

mechanisms of Florida’s standard class action rule—which is modeled after

Rule 23—and section 723.075(1) allows mobile homeowners’ associations in a

representative capacity without satisfying any requirements similar to those in

Rule 23. Because the Court finds that neither the Florida rule or statute is a

class action rule or “similar” to Rule 23, the federal class action rule, the




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Association’s case is not a “class action” as defined under CAFA.9 As such, the

Court lacks original subject matter jurisdiction over the claim presented in this

case.

              B. Exercise of Jurisdiction Under 28 U.S.C. § 1367

        Having determined that the claim remaining before the Court provides

no basis for the exercise of original subject matter jurisdiction, the Court must

consider whether to exercise supplemental jurisdiction over the Association’s

state law antitrust claim. “The decision to exercise supplemental jurisdiction

over pend[e]nt state claims rests within the discretion of the district court.”

Raney v. Allstate Ins. Co., 370 F.3d 1086, 1088-89 (11th Cir. 2004). Pursuant to

28 U.S.C. § 1367(c), the Court may decline to exercise jurisdiction over a state

claim if:

        (1) the claim raises a novel or complex issue of State law,
        (2) the claim substantially predominates over the claim or claims
        over which the district court has original jurisdiction,
        (3) the district court has dismissed all claims over which it has
        original jurisdiction, or
        (4) in exceptional circumstances, there are other compelling reasons
        for declining jurisdiction.

28 U.S.C. § 1367(c). Notably, “[a]ny one of the section 1367(c) factors is sufficient

to give the district court discretion to dismiss a case’s supplemental state law

claims.” Parker v. Scrap Metal Processors, Inc., 468 F.3d 733, 743 (11th Cir.


9 Given the Court’s determination that the Association’s claim does not fall within the
definition of a class action under CAFA, the Court need not reach the issue of whether the
amount in controversy meets the requisite $5,000,000 in damages required under CAFA.




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2006). However, upon determining that it has the discretion under § 1367(c) to

decline jurisdiction, “[a district court] should consider the traditional rationales

for pendent jurisdiction, including judicial economy and convenience in deciding

whether or not to exercise that jurisdiction.” Palmer v. Hosp. Auth. of Randolph

Cnty., 22 F.3d 1559, 1569 (11th Cir. 1994).

      Defendants argue that even if this Court lacks jurisdiction over the

Association’s single state law claim under CAFA, the Court should exercise its

discretion to retain supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a).

Defendants contend vaguely that principles of judicial economy, convenience,

fairness, and comity “militate in favor” of the Court retaining jurisdiction in this

case. In support, Defendants argue that the antitrust issues will be decided

based on parallel federal law, the Sherman Antitrust Act, and state courts are

required to give “due consideration and great weight” to interpretations by the

federal courts of “comparable federal antitrust statutes.” Defendants’ Response

at 10 (citing Fla. Stat. § 542.32; § 542.20 (any conduct exempt from federal

antitrust law is exempt from Florida’s Antitrust Act)). Additionally, they

contend that, “in terms of comity, there is no particular interest or value to the

State of Florida for the antitrust claim to be determined in a state court because

“the body of jurisprudence that will guide the determination of the state

antitrust claim is federal jurisprudence.” Id. Notably, Defendants cite no legal

authority in support of this contention.




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      The Association argues that the Court should decline to exercise

jurisdiction over the state law antitrust claim because the ADA claim was

eliminated early in the litigation. Association’s Response at 5 (citing Carnegie-

Mellon Univ., 484 U.S. at 351)). The Association directs the Court to Judge

Bucklew’s decision in Swiss Village Inc. v. Maxwell. No. 8:21-cv-153-SCB-AAS,

(M.D. Fla. April 8, 2021). There, the court declined to exercise supplemental

jurisdiction over a similar Florida Mobile Home Act claim after the plaintiff

dropped its federal ADA claim. Id. at 7. In doing so, the court stated that “comity

cuts against exercising supplemental jurisdiction. State courts, not federal

courts, should be the final arbiters of state law.” Id. (citing Baggett v. First Nat’l

Bank of Gainesville, 117 F.3d 1342, 1353 (11th Cir. 1997)). The court further

noted that, “[i]t is a bedrock principle that ‘needless decisions of state law

should be avoided both as a matter of comity and to promote justice between

the parties, by procuring for them a surer-footed reading of applicable law.’” Id.

(citing Ameritox, Ltd. v. Millennium Labs., Inc., 803 F.3d 518, 540 (11th Cir.

2015)). Additionally, the court determined that considerations of convenience

and fairness did not weigh against declining supplemental jurisdiction because

most of the parties were Florida citizens and remand would effectuate the

plaintiff’s original choice of a state forum. Id.

      Upon due consideration, and persuaded by the reasoning in Swiss Village,

the Court finds that considerations of judicial economy, comity, convenience and




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fairness weigh against retaining jurisdiction over the Association’s Florida law

antitrust claim. In addition to the reasons discussed in Swiss Village, the Court

notes that this case has not been pending for an extended period of time, and

Defendants’ litigation in federal court has not moved beyond determining

whether the Court has subject matter jurisdiction based on CAFA. The Court

has not issued a scheduling order or reached any dispositive rulings pertaining

to the state law antitrust claim. Thus, the procedural posture of the case also

weighs in favor of declining jurisdiction to allow the case to proceed fully in

state court. See Carnegie-Mellon Univ., 484 U.S. at 357 (“[A] district court has

discretion to remand to state court a removed case involving pendent claims

upon a proper determination that retaining jurisdiction over the case would be

inappropriate.”).

      Moreover, when, as here, the federal claims are dismissed prior to trial,

district courts are “encouraged to remand remaining state claims.” Lieu v.

Sandy Sansing Cars, Inc., No. 3:07-cv-345-MCR-MD, 2007 WL 4287642, at *2

(N.D. Fla. Dec. 5, 2007) (citing Raney, 370 F.3d at 1089); Busse v. Lee Cty., Fla.,

317 F. App’x 968, 973–74 (11th Cir. 2009) (“Since the district court ‘had

dismissed all claims over which it has original jurisdiction,’ it therefore had the

discretion not to exercise supplemental jurisdiction over [Appellant’s] state law

claims. 28 U.S.C. § 1367(c)(3). Furthermore, we expressly encourage district

courts to take such action when all federal claims have been dismissed




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pretrial.”). See also Carnegie-Mellon Univ., 484 U.S. at 350 n. 7 (“[I]n the usual

case in which all federal-law claims are eliminated before trial, the balance of

factors to be considered under the pendent jurisdiction doctrine – judicial

economy, convenience, fairness, and comity – will point toward declining to

exercise jurisdiction over the remaining state-law claims.”).

       For the reasons set forth above, the Court has determined that it lacks

CAFA jurisdiction because the Association’s claim is not brought as a “class

action” within the meaning of CAFA. What remains is a state law claim that is

best addressed by the state courts, particularly the issue of whether the

Association has standing to assert an antitrust claim on behalf of homeowners

under Florida Statute section 723.075(1) and Florida Rule 1.222 as a matter of

“common interest” to homeowners.10

       Upon consideration of the § 1367 factors and the “traditional rationales

for pendent jurisdiction, including judicial economy and convenience,” see

Palmer, 22 F.3d at 1569, the Court declines to exercise supplemental

jurisdiction over the Association’s remaining state law claim. Accordingly, the

Association’s state law claim is due to be remanded to the Circuit Court of the

Seventh Judicial Circuit, in and for St. Johns County, Florida. See Lewis v. City


10 Defendants state that they “dispute the HOA has Article III standing because the antitrust
claim does not fall within the narrow set of claims the HOA can bring on behalf of the
homeowners under § 723.075(1) and Rule 1.222, but that dispute is for another day.”
Defendants’ Response at 3. The Court finds that the dispute is not only for another day, it is
for another court as well.




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of St. Petersburg, 260 F.3d 1260, 1267 (11th Cir. 2001) (directing the district

court to remand state law claims over which it declines to exercise supplemental

jurisdiction rather than to dismiss them, when the case was originally filed in

state court and then removed to federal court); Holiday Haven, No. 6:21-cv-174-

CEM-EJK (Doc. 78) (remanding association’s state law claim after dismissal of

ADA claim); Crystal Lake Community Ass’n. v. Zilis, No. 8:21-cv-151-CEH-

AAS, 2021 WL 3472206 (M.D. Fla. July 19, 2021) (same); Swiss Village, No.

8:21-cv-153-SCB-AAS (Doc. 32) (same).

        Based on the foregoing, it is hereby

        ORDERED:

        1. This case is REMANED to the Circuit Court of the Seventh Judicial

           Circuit, in and for St. Johns County, Florida.

        2. The Clerk of the Court is directed to transmit a certified copy of this

           Order to the clerk of that court and close the file.

        DONE AND ORDERED in Jacksonville, Florida this 22nd day of March,

2022.




Copies to:
Counsel of Record
Clerk, Seventh Judicial Circuit




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